Case Snmmary                                                                                                        Page 1 of2




 Case Number:                      14CV089137                Case      Title: LISA E UPAH VS MERCY MEDICAL CENTER
 Opened: 11-22-2017
 CounLyr Linn
 Case       Typer E¡4PLOY¡4ENT            CLAI¡4     Status:   Active        Judgei
 Next Scheduled Date &                ¡me:   2018-10-16     09:00:00 Event:        NON IURY TRIAL
 Prayer Arnount: $.00
.n Show/,1ide PaitÌcipants

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 Defend¿nt                                 DISCLOSURES
                                           Filed by: THOI'1AS DAG WOLLE

                                           NOTICE OF DISCOVERY REQUEST
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                                           DEFENDANTS FIRST SUPPLEMENTAL TO INITIAL DISCLOSURES
 Defendant
                                           Flled byr THOÍqAS DAG WOLLE

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                                          ORDER RE TRIAL AND HEARING EXHIBITS
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                                          Filed by: Court

                                          Order Setling Trlal
0l'1 6-2018 J û:!li:00                    NON JURY TRIAL 10-16-2018 @ 09:00             ANI
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                                          ORDER FOR     ÏRIAL SCHÊDIJLING CONFERENCE
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 Defendant
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                IN THE IOWA DISTRICT COURT IN AND FOR LINN COUNTY


LISA E, UPAH,

         P1aintiff,                                       Case   No. L4CV089137

vs.
                                                        NOTICE OF SERVING
MERCY MEDICAL CENTER,                                   DISCOVERY REQUEST

         Defendant.


         The undersigned hereby notifies the Court that it served to counsel ofrecord on June

8, 2018, via email the following document pulsuant to the Iowa Rules of         Civil Procedure:

                      Defendant's Second Supplemental to Initial Disclosures



                                               SIMMONS PERRINE MOYER BERGMAN, PLC



                                                       /s/ Thomas D. Wolle
                                                  Thomas D. Wolle 4T0008564
                                                  1 15 3'd Street SE, Suite 1200

                                                  Cedar Rapids, IA, 52401
                                                  Telephone: (319) 366-7 641
                                                  Facsimile: (319) 366-1917
                                                  E¡lail : twollel¿ìsinlrnonspgq!!tq4e!1




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                                CERTIFICATE OF SERVICE

The undersrgned certifies that on June 6, 2018, this document was electronically frled with
the Clerk of Court using EDMS which will send notification of such filing to the
followìng:


Lynn M. Smith
SWISHER& COHRT, PLC
528 West 4'h Street
PO Box 1200
Waterloo, 1A 50704-1200

ATTORNEYS FOR PLAINTIFF

SIGNED       /s/   Thomas D. Wolle




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                IN TFIE IOWA DISTRICT COURT IN AND FOR LINN COUNTY


LISAE. UPAH,

         P1aintiff,                                       Case   No. L4CV089137

vs.
                                                         NOTICE OF SERVING
MERCYMEDICAL CENTER,                                     DISCOVERY RNQUEST

         Defendant.


         The undersigned hereby notifies the Court that it served to counsel ofreco¡d on June

6,2078,via ema the following document pursuant to the Iowa Rules of Civtl Procedure:

                      Defendant's First Supplemental to Initial Disclosures



                                                SIMMONS PERRINE MOYER BERGMAN, PLC



                                                Bv:    /s/ Thomas D, Wolle
                                                   Thornas D. Wolle 4T0008564
                                                   115 3'd Street SE, Suite 1200
                                                   Cedar Rapids, IA 52401
                                                   Telephone: (319) 366-7641
                                                   Facsimile: (319)366-1917
                                                   E-mail : twol le@simmonspelrine.cour




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The undersigned certifies that on June 6, 2018, this document \ryas electronically filed with
the Clerk of Court using EDMS which w 1send notification of such filing to the
following:


Lynn M. Smith
SWISHER& COHRT, PLC
528 West 4'h Street
PO Box 1200
Waterloo, lA 50704-1200

ATTORNEYS FOR PLAINTIFF

SIGNED    /s/   Thomas D. Wolle




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                              IN THE IOWA DISTRICT COURT FOR I.INN COUNTY

LISA E. UPAH,
                                                                        Case No. L4CV089137
        Pl   a   inti   ff,

vs.                                                                    NOTICE OF SËRVICB OF
                                                                       DISCOVERY REQUESTS
MERCY MEDICAL CENIER,

        Defendant.



        COMES NOW the                Plailtifl   I-isa E, Upah, ancl provides the Court with Notice that she ìras

scrvcd the fbllowing docurnents upon counsel of record by U.S. First Class Mail                  onttJl\¿nv
of May 2018:

         1. Plaintifls          First Set of Interrogatories to Defeudant;

        2.       ?laintiffls First Request for P¡oduction of Documents to Defenclant; ald

        3.       Plaintiff    s First Request for Admissions to Defendant.

                                                           Respectfu   lly submitted,



                                                                       M. Snith - 000015587
                                                                HER & COHRT, P.L,C.
                                                          528 West 4û' Street
                                                          P.O, Box 1200
                                                          'Waterloo,
                                                                      IA 507 04-1200
                                                          Telephone; (319)232-6555
                                                          Facsir¡ile :    (3),9) 232-4835
                                                          E-rnail          lsflith@! !:lqy-çql¡
                                                          Attorxey for Plaintiff, Lisa E. Upah

Origìnal fìled.
Copy to:

Thomas D. Wolle
Simr¡ons Perrìne Moycr B ergmatr Pl,C
115 Third Street SE, Suite 1200
Cedar Rapids, IA 52401




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                            A DISTRICT                   IN AND FOR LINN COUNTY

LISA E, UPAH,

         P1aintiff,                               Case   No. L4CV089137

vs.
                                                      NOTICE OF DEPOSITION OF
MERCYMEDICAL CENTER,                                         LISAUPAH

         De fendant.




         YOU ARE HEREBY NOTIFIED that the Defendant will, pursuant to the Iowa Rules

of Civil Procedure, take the deposition before a Court Reporter and Notary Public duly

authorized to administer the oath pursuant to the laws of Iowa of the following named person

at the time, date and place stated hereinafter:

                 DEPONENT:           Lisa Upah

                 DATE/TIME:           Il:ne21,2018 beginning at 10:00 a,m.

                 PLACE               Simmons Perrine Moyer Bergman
                                      12'r'   Floor
                                      115 3'd Street SE
                                     CedarRapids,        IA   52401


The oral examination will continue from day to day until completed.

                                                                          BERGMAN PLC



                                     Thomas D. Wolle 4T0008564
                                     115 3rd St. SE, Suite 1200
                                     Cedar Rapids IA 52401
                                     Telephone: 319-366-7 641 /Facsimtle: 3I9-366-1917
                                     Email: rwolle@simmonsperrine.com
                                     ATTORNEY FOR DEFENDANT




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                                        CERTIFICATE OF SERVICE
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 of Court using EDMS which will send notification of such filing to the following:
 Lynn M. Smith
 SWISHER & COHRT, PLC
 528 West 4'h Street
 PO Box 1200
 Waterloo, IA 50704-1200

 Atrorney for P/ølntilf



 Copy to Coutt Reporter:   Matta   Happelf¡ n.,         ,r-
  SIGNED                               \ /)w /wx-\            )




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                 IN THE IOWA DISTRICT COURT IN AND FOR LINN COUNTY


LISA E. UPAH,

          Plaintiff,                                       Case   No. L4CV089137

VS.
                                                          NOTICE OF SERVING
MERCY MEDICAL CENTER,                                     DISCOVERY REQUEST

          Deferrdant.


         The undersigned hereby notifies the Court that it serued to counsel of record on May

23,201.8, via email the following document pursuant to the Iowa Rules of Civil Procedure:

                       Defendant's First Set of Interrogatories to Plaintifff
                       Defendant's First Request for Production of Documents to Plarntiff


                                                 SIMMONS PERRINE MOYERBERGMAN. PLC



                                                 By:     /s/ Thomas D. Wolle
                                                   Thomas D. Wolle 4T0008564
                                                    1 15 3'd Street SE, Suite 1200

                                                   Cedar Rapids, IA 52401
                                                   Telephone: (319) 366-7 641
                                                   Facsimile: (319)366-1917
                                                   E-rnail : twolle@simrnonspel rine.com




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with the Clerk of Court using EDMS which will send notification of such filing to the
following:


LynnM. Smith
SWISHER& COHRT, PLC
528 West 4'h Street
PO Box 1200
'Waterloo,
           IA 50704-1200
ATTORNEYS FOR PLAINTIFF

SIGNED    /s/   Thomas D. Wolle




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                            IN THE IOWA DISTRICT COURT FOR LINN COUNTY



LISA UPAH

          Plaintiff(s),                              cAsE NO. 06571 LACV089I37

   vs.
                                                     Order
MERCY MEDICAL CENTER
                                                     Dated: 0512212018
          Defendant(s).


On this date, Plaintiff's Motion for Leave to Amend Petition came before the Court. Plaintiff seeks
the Court's permission to amend her Petition so as to include a claim under the federal Fair Labor
Standards Act. The record reflects that the motion appears unresisted and the deadline for filing a
timely resistance has expired,

"Leave to amend, including leave to amend to conform to the proof, shall be freely gìven when
justice so requires." lowa R. Civ. P. 1.402(4). "The purpose of a pleading amendment rule is to
facilitate a decision on the merits, and to provide the parties with adequate notice of the claims and
defenses asserted against them," 61A Am. Jur. 2d Pleadings Sec. 693. When this Court exercises its
discretion to rule on motions for leave to amend pleadings, "fa]mendments are the rule and denials
the exception," Ackerman v. Lauver, 242 N.W,2d 342,345 (lowa 1976).

Here, Plaintiff's proposed amendment would add a claim that arises from the same facts and
circumstances (i.e., Defendant's employment of Plaintiff) as presented in Plaintiff's original Petition
Although this would expand the scope of issues to be tried, the proposed amendment is unlikely to
significantly expand the scope of discovery or impact the scheduled trial date of October 16, 20'18.
Defendant does not allege any prejudice or unfair surprise will result, nor is any suggested by the
Court's review of the proposed amendment. Therefore, Plaintiffs motion should be granted.

lT lS THEREFORE ORDERED that Plaintiff's Motion for Leave to Amend is GRANTED and Plaintiff
may amend her Petition as sought in the motion. Plaintiff's Amended Petition, submitted concurrently
with the motion, shall stand as filed without need for further refiling,

Clerk to notify




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                                                State of Iowa Courts
Case Number                     CaseTitle
LACVO89137                      LISA E UPAH VS MERCY MEDICAL CENTER
Type:                           C)ther C)rder

                                                           So Ordered




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                                                           Denver D. D¡llard, D¡str'¡ct Cor¡ft Judge,
                                                           Sixth Judicial DistrÌct of lowa


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                                  IN TI{E IOWA DISTIìICT COURT FOR LINN COUNTY

LISA E. UPAII,
                                                                       Case No. LACVO89l37
          Plaintiff,

vs.                                                                    MOTION FOR LEAVE
                                                                       TO AMEND PEI]'I]ON
ML]RCY MEDICAL CENTER,

          Defen        d   ant.



          COMES NOW the Plaintiflì Lisa E. Upalr. pursuant to Iowa R, Civ. P. L402 and submits

hel Motion for'l-eave to Anle¡rd Petition and in suppoft states:

          I   .            P   laintil'l' filed her Petition and Jury Demancl on November 22,2017     .




          2.               Delènclant fìled its Answer on Decembe¡ 12.2017.

          3.               This matteÌ is set fbr trial commencing October 16, 2018,

          4.               The pleadìngs deadline for this matter is August 17,2018.

          5.               Plaintifl seeks to amend her Petition to ir.rclude   a   claim for fäilure to pay overtirne

undel the Fair Labol Standards Act based on additional review ofthe evidence in this case

          6.               A copy of Plaìntiff s Arnended Petition is attached hereto as Exhibit A.

          7.               Pursuant to Iowa R. Civ. P. 1.402(4), Ieave to amend shaìl be fieely given when

j ustice so lequires,


          8.               None of the palties will be prejudiced by the granting of thjs Motion

          WI{EREFORE the Plainliff, Lisa E. Upah, respectfully requests that the Court enter an

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                                                                        Respectfully submitted,




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                                                                                               P.L,C
                                                                       528 west 4rl' Street
                                                                       P,O. Box 1200
                                                                       Watelloo, IA 50704- 1200
                                                                       Teleplrone: (319)232-6555
                                                                       Facsimile: (319)232-4835
                                                                       E-mail lsrnith@S:ç.þU. co:!q
                                                                       Altorney for Plaintifl, Lisa E. Upah

Oliginal filed

Copy to

Thomas D. Wolle
Simmons Perrine Moyer Bergman PLC
115 Thi¡d Street SE, Suite 1200
Cedar Rapids, lA 52401

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                          IN THE IOWA DISTRICT COURT F'OR LINN COUNTY

LìSA E, UPAII,
                                                                  Case No, L4CV089137
          Plaintiff,

vs.                                                               AMENDED PE'IITION

MERCY MEDICAL CENTER,

         Defendant.

          COMES NOW Lisa E. Upah, Plaintiff in the above-captioned rnatter, by and through her

attonleys and in suppolt of this Al.nended Petìtion states as follows:


                                                 INTRODUCTION

          1.        This is an action against Mercy Medical Center for disability based disc¡irnination

and telmination ìn violation of the           Plaintifls rights pulsuant to the lowa Civil Rights Act, Iowa

Code Chapter'216 and all suoh acts which constitute unfair empJoyment practices pursuant to the

Iorva   Civil   RiglrLs   Aot. Furtlier, rhis is a¡r action for wrongful dischalge   as   Plaintifls lermination

ol employment constitutes a discharge against public policy.


                                        JURISDICTION AND VENUE

         2,        This Court has jurisdiction ovel this r.ìlatter as the vâlue exceeds the small claims

.¡rLrisdictìonal arnount,

         3.        Venue ìs appropriate in Lirm County, Iowa pursuant 1o l<¡rva Code $216.16(5) as

the alleged     unfail practices occurred in Linn County, Iowa and the PlaintilI resides in Linn County,

lowa,




                                                 EXHIBIT
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                                        PARTIES AND BACKGIìOUNÐ

        4.              Lisa Upah, the Plaintiff herein was at all times material herein a resideff of Cedar

Rapids, Linn County, Iowa.

        5.              Defèndant Mercy Medical Centel is located in Ceclar Rapids, Iowa and at all times

rlaterial helein was doing business in Linn County, Iowa.

        6.              Plainiiff Lisa Upah began employment wilh Melcy Medical Center on or about July

5, 2016.

        7.              Plaintiff was employed and wolked at a facility in Cedar Rapids, Linn County,

Iowa.

        8.              During hel employment, the Plaìntiff was subjecled to harassmellt that resulted in

Plaintiff      s   anxiety and her protected disability.

        9.              Plaintiff, on a variety of occasions during her empìoyment, requested ¡easonable

acconmodatìons due to irer anxíety and disability.

           10.          'l-he lecluested accomrnodarions included training and additional help with

wolk load. among othels.

           I   1   .    Those accomrnodâtions wele denied and Plainliff rvas sinrply told to do her job on

a numbel           of occasions.

           12.          PlaìntifI also reported a variety of unethical behavjor to I{urnan Resources aud

other issues including HIPAA violations.

           13.          Plaintifls reports to Hnmau Resources were consistent with company policy

through the Colporate Conrpliance Program which specifically requires reporting of

r.urplofèssio:ral corrducl alld HIPAA violations, alnong othel itetns.




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        14.     Plaintifl experienced steadjly     rì1ore hostile behavior   in the wor')<place after she

requested reasonable acconrmodations änd repoited val ious behavio¡s to Human Resources'

        15.     The cornbination of the repofis to HR and Plaintifls requests for             reasonable

accol¡rrrodations eventually led to the termínation of Plaintiff s employment.

        16.     Plainri{f's repotts to l{R concerning unethical and inappropriate behavior were

maclc ìn November ancl December of 2016.

          l7.   Shortly t)rereafter, Plaintiffs employment was tertninated on January 17,2017.

          18.   Plaintiffwas not given    a ¡eason   for telmination othcl than thal "she was not   a good


fi1."

          19.   Plaintilf suffeled w'ith gleater harassurent, bullying, and retaliation afler          she


requested reasonable accommodation for hel anxiety and aller she repotted unethical behavior to

l-lR pulsuant to the Courpany policies on Corporate Complìance

        20.     Plai¡tiff   was disclirninated agaiust and retaliated against by Mercy Meclical Center

because   ofhel disability   as described above.


        21.     The Plaintifls ternlitÌatiorl based on her disability is a violation of the Iowa Civil

Rìghts Act as outliued below.

        22.     The Delènclant's deniai of Plaintifls lequests for reasonable accomtnodatiou is a

violation of the lowa Civil Rights Act.

          23,   The Plaintifls telminatton iu response lo her protected aclivity by leporling

Corporate Compliance issues constitutes a      wronglìl discharge against public policy




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                                     PROCEDURAT, PIìILII           II,OT II   SI'IIi]S

        24.       Plaintiff Lisa Upah initiatecl tÌris employment discrimination action by timely filing

a conrlrìaint wíth the Iorva        Civil Rights Commission on or about January 19,2017, pursuant to

Iowa C<¡de Cha.pter'216, A copy of said complair.tt is attachecl Jreleto as Exhibit A.

        25,       Plaintifls cornplaint before the Iowa Cìvil Rigìrts Commission was filed within

300 days ofthe discliminatory acts complained ofand the acts cornplained ofcontinued throughout

the term    ol'Plaintifl   s   employurent,

        26.       Pulsuant to Iowa Code Section         21 6. 1ó   and l6     l   Iowa AdnT inistrative Code Section

3.10 tlle   Plaintiil requested     an Administrative Release, glanting her the right to file this action in

distlict court.

        21.       The Iowa Civil Rights Commission issued the Administrative Release (Right to

Sue Letrer) to Plaintiff on August 24, 2011.            A copy of said Administrative               Release is attached

heleto as Exhibit B,

        28.        l'hrs action is timely filed within 90 days of the issuance of the Adrninistrative

Release.

        29.       'lhele a¡e no administlative fiìing requirements or prerequisites for filing                  a clairn


based on    wrongful discl,arge against public policy.


             COUNT I: VIOLA'IION OF IOWA CIVTL RIGHTS ACT
     IOWA CODE Cll¡\l'T'lÌlì.216 - DISABILITY DISCRIMINATION. FAILURE TO
                                              MOI)¡\1'lì.          RETALIATION
                                  ^CCONI                    ^ND
        30,        The FlaintifT h.ereLry inco:'pora,tes by reference Exhihit A, her complaint to the lowa

Cìvil lì-ights Cornmission that was filed         as referenced above, as          if lilly   alleged herein.

        3I   .     Plaintiff hrrther incorporates paragraphs         1   through 29 as if fully alleged herein.




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         32.      At all tinres material helein, Plaintilf was an employee of the Defencla:rt, working

at 701 10rr Strect SÐ, Cedar Rapids, I-inn County, Iowa, within the meaniug of the Iowa Civil

Rìglits Act, lowa Codc Chapter 216.

        33.       At all times nraterial herein, Delèndant was the Plaintiffls employer within     the

meaning ol lowa Code Chapter 216.

         34.      Plaintills anxiety constitutes a plotected disabìlity under the lowa Civil   Rights

Act; therefore, Plainlìff was disabted within the meanirrg of the Iowa Civil Rights Act.

        35.       Plaintiff was able to pelfonn the esseutial functìons of hel joìr with or tvithout

leasonal¡le accommodatious at all tirres material herein

         36.      Plaintiff was   a qualifìed   individual with a disability.

         37.      Plaintiff r.equesled reasonable accommodations and I)efenclant lailed to provide the

necessary accor¡modations,

         38.      Plaintiffs disability was a rnotivating factof in the decision to terminate he¡

employurent.

         39,      The Delènclant failed to accourmodale Plaintiffs disability by providing adequate

time o11'and other reasonable accommodatìons includir.rg tlaining and assistance with wolkload as

requilerì by the lowa Civil Rights Act, includìng reducing Plaintifls workload and/or placing

Plaintiff in a different role.

         40.      Defendant's failure to provide reasonable accommodations is a violation of the

Iowa Civil Rights Act.

         41   .   The actions of the Defendant in terminating the Plaintiff based on her disability

constjlì.r1e unlawfl-rl   discrimÌnation pursuaìrt to the Iowa Civil Rights Acts.




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          42.       Defendant's actions   in   lenninating Plaintiff   in   retaÌiation for her request for

re   asonabie accommodations constítute a violation of the lowa        Civil Rights Act.

          4.3,      As a result ofthe unlawfìl actions oftl.re Defendant âs described above, the Plaintiff

has suîl-eted lost wages and benefits, retirement benefits, emotional distress, humiliation, and loss

ol er¡oyment of life.


           COUNT       II:   WRONGtsUL TERNIINATION AGAINST PUBLIC POLICY

          44.       On o¡ about .Tanualy 17,2017, Lisa Upah's employment with Mercy Medical

Cenler u,as ter:minatsd,

          45.       In the monlhs of November aucl December of 2016. Ms, Upah engaged in legally

protected activity by lepofìng inappropriate behavior and violations of cornpany policy to HR,

including violations of law such as I{IPAA.

          46.       The tteattnent expelienced by Ms. Upah in the wo-r-kplace after she complained to

HR became progressively worse and eventually culminatecl in her termination.

          47.       Ms. Upah was terminatecì because she engaged in a protected activity by reporting

inappropliate behavior to HR.

          48,       As a result o1'the tertnination of ¡:Laintiff-s employment, she sustaìned damages

incluciing lost wages and benefìts, retirement benefìts, emotional distress, humiliation, and loss           of

enjoynient of lìfè.

 COUNT       III:   VIOLA'I]ION oF THE FAIIT LABOR S'IAND,{RDS ACT                       - 29   ti.S'C.8   203


           49.      Plaintiff \\,as at all times mate¡ial ìrerein an employee as defi[ed uncler the Fair

Labol Standalds Act,29 U.S.C. $ 203.




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          50.      Defendant is an employer as defined unde¡ the Fai¡ l-aboL Stanclards Act,29 U.S,C.

$ 203.

          51.      Defendant is engaged   in   interstate colnmerce as def,tned under the Fair Labor'

Standa¡ds Act, 29 U.S.C. $ 207(a)(t ).

          52.      During her employment with Mercy Medical Centcr, Plaintiff l-isa Upah was

eurployecl as a non-exempt employee pursuarlt to the Fair Labor Standards Act,29 U,S,C, 201, et

seq., and none of the exemptions contained in 29 U.S.C. $      2i3   appl,v to   Plainlifl

          53.      Therefore, when Ms. Upah rvorked more than 40 hotrrs in any work week, she was

entitled to overtime pay at tbe ¡ate of 1 .5 times her hourly rate of pay pursuant to the terms of the

F   air Labo¡ Standards Act,

          54.      On rnultiple occasions during her en.rployment with Mercy Medical Cellter, Ms

Upah rvas fblced to punch out ìn o¡der to finìsh work on hel      owr tinre thereby not being paid for

all hours u'orked.

          55.      The actions of her: ernployer in asking her to punch olìt but to conlinue working

violate the provisions of the Fair Labor Standards Act.

           56.     The actions of Ms. Upah's employel in failing to compensâte he¡ for all hours

worked and to pay overtirle when due to her constitute violations of the Fail Labol Standards Act.

          51   .   Ms, Upah is entitled to au award ofpayment for all hou|s worked, including but not

limited to wages, overtime pay, attomeys' fees and any and all such other relìef as the courl may

Ceern    just under the citcumstances.

                                                 RELIEF

          V/HERÐFORE, Plaintiff respectfully |cquests tl-rat she be made whole including but not

limitecl to an adjudication that the oonduct of Mercy Medical Cente¡         irT   telminating Ms. Upah's



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employment was unlawful as a <liscliarge in violation of Iowa Code Chapter 216 and that the

Defendant's actions in failing to accornmodate Ms, Upah's disability constitutes a violation of the

lowa Civil Rights Act. Ms. Upah further seeks an adjudication that her termination constitutes a

wrongful discharge against public policy. Ms. Upah further seeks an award of lost wages and

incorne including benefìts, defened compensation, bonuses and retirement account matching

contributions, an award ofcompensatory damages includrrg but not limited to emotional distress,

pain and suffering, and mental angr.rish, aìongwith an award of attomeys'fees, interest, court costs

and any and al.l othe¡ relief as tlre conrl may deem just and reasonable under the circumstances and

consistellt with applicabl e I ar.v.

        WHEREFORE, the Plaintiff, Lisa E. Upah, prays that the Courl enter judgrnent findìng the

Defendant in violation ofthe Fair Labol Slandards Act and awarding Ms. Upah da[rages including

wages, overtime pay, âttomeys' fèes and any and all such other relief as the court may deem just

under the circumstalrces.


                                              RespectftiJly subtnitted,




                                                   Lynn M. Smith - 00001
                                              SWISHER & COHRT, P.L,C.
                                              528 West 4tr' Sh-eet
                                              P.O. Box 1200
                                              Waterloo, IA 50704-1 200
                                              Telephone: (319)232-6555
                                              Facsir¡ile: (319)232-4835
                                              E¡nail         l   snr   !!¡!{¡-   c- la   rv. co ¡lr


                                              Attomey for Plaintifl Lisa E- Upah

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Thomas D. Wolle
Simnrons Perrine Moyer Bergman PLC
1 15 Third Street SE, Suite 1200

Cedar Rapids, IA 52401

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                         IN THE IOWA DISTRICT COIJRT'I.'OR L,INN COUNTY

LISA E. UPAH,

         P   laintiff,                                         Case     No. L4CV089137

vs.


MERCY MEDICAL CENTEI{,                                         PI-AINTIFF'S DESIGNATION
                                                               OF EXPERT WITNESS(ES)
         Defendant.




         COMES NOW the PÌaintiff, Lisa E. Upah, and desígnates the following as expeÍ

wituesses in this case:

          i.        Margaret Mangold, M.D., Vinton Family Medical Clinic, 504                  N 9th Avenue,
Vinton, Iowa       523 49.


         2.         Kareu Bierman, Mercy famíly Counseling, 1340 Blails Fer-ry Road NE, Suite A,

Hiawatha, Iowa 52233.

         3.         Plaintiff Ìeserves the right to call at trial, or to elicit expert opinion testimony

from, any person designated as an expelt witness by any other party in this action.


                                                   Respectfully subnìitted,




                                                       Lynn      Snith - 000015587
                                                  SW]SHER & COHRT, P,L.C.
                                                  528 West 4r{' St¡eet
                                                  D   r\ Þ^- rtlìrì
                                                  Waterloo, IA 50704-1200
                                                  Telephone: (319)232-6555
                                                  Facsimile:          (319)232-4835
                                                  E-mail              l¡lr¡tlil4¡:ql!ry.ca¡r
                                                  Attorney for Plaintiff, Lisa E, Upah




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Attorney Thomas D. Wolle
Simmons Perrine Moyer Bergman PLC
I l5 Thild Street SE, Suite 1200
Cedar Rapids, IA 52401


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                                       IN TFIE IOWA DISTRICT COURTFOR I,INN COL]NTY

LISA Ð. UPAI'I,

                 Plaintiff,                                                          Case No. L4CV089137


VS.
                                                                                     PLAINTIFF'S NOTICE
MERCY MEDICAL CENTER,                                                                OF SERVICE OF-
                                                                                     INITIAL DISCLOSURES
                 Defendant,



                 COMES NOW Plaìntiff, Lisa                    F).   Upah, and provides the Courl with Notice that she has

served Irritial Disclosures on counsel ofrecord by U.S. mail on Febluary                                  22,2018.


                                                                          Respectfully subrnitted,



                                                                                          Smith - 000015s87
                                                                         SWISFIER & COHR'I, P.L,C.
                                                                         528 West 4rr'Street, P.O. Box 1200
                                                                         Waterloo, lA,   507 04   -1200
                                                                         Teleplrone: (319)232-6555
                                                                         Facsinrile:     (319)232-4835
                                                                         E-mail          lsmith@s-c-law.con'!

Copy to:
Attorney Thomas D. Wolle
Silnrnons Perrine Moyer Bergrnan PLC
I 15 Thild Street SE, Suite 1200
Cedar Rapids, IA 52401
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                IN THE IOWA DISTRICT COURT IN AND FOR LINN COUNTY


LISA E, UPAH,

         P1aintiff,                                          Case   No. L4CV089137

vs,
                                                            NOTICE OF SERVING
MERCYMEDICAL CENTER,                                       INITIAL DISCLOSURES
         Defendant.


                 The undersigned hereby notifies the Court that it served to counsel ofrecord

on February 21, 2018, via       mal the following document pursuant to the lowa Rules of Civ

Procedure:

                      Defendant's Initial Disclosures


                                                 SIMMONS PERRINE MOYER BERGMAN. PLC



                                                By       /s/ Thnmas   D Wnlle
                                                     I  homas D. Wolle 4T0008564
                                                      I 15 3'd Street SÈ, Suite 1200
                                                     Cedar Rapids. IA 52401
                                                     'Ieleplrone: (3 19) 366-7 641
                                                     Facsimile: (319) 366-1917
                                                     E-rnail : twolle@iq¡nç¡!pçq!¡ç!e¡q




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                             CERTIFICATE OF SERVICE

The undersigned certifies that on February 21,2QL8, this document was elecronically fled
with the Clerk of Court using EDMS which will send notification of such frling to the
following:


Lynn M. Smith
SWISHER& COHRT, PLC
528 West 4'h Street
PO Box 1200
Waterloo, lA 50704-1200

ATTORNEYS FOR PLAINTIFF

SIGNED    /s/   Thomas D, 'Wolle




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                        IN THE IOWA DISTRICT COURT FOR LINN COUNTY

UPON THE PETITION OF

LISA UPAH
                                                     cAsE NO. 06571 LACV089I37
     Petitioner,
                                                     ORDER REGARDING TRIAL AND HEARING
AND CONCERNING                                       EXHIBITS

MERCY MEDICAL CENTER
                                                     Dated:01/16/2018
     Respondent.

    The provisions of this order shall apply to any exhibits the parties may offer as evidence for any
trial or hearing in this case. Failure to comply with the provisions of this order may, if the judge
conducting the hearing or trial deems it appropriate, result in the imposition of sanctions under lowa
Rules L602(5) and/or 16.609.

   1. To allow the court to comply with lowa Rule 16.a12()(a) and to allow the Clerk of Court
adequate time to process proposed exhibìts ìn advance of any hearing or trial, all exhibits that can be
maintained electronically must be scanned and submitted on the Electronic Document Management
System ("EDlVS") as proposed exhibits no later than 4:00 p.m. the second business day prior to the
start of the hearing or trial at which the exhibits may be used (e.9. 4:00 p.m. on Thursday if a hearing
or trial is set for Monday). The court may, by separate order, require submission of exhibits sooner.
 Proposed exhibits must be submitted in accordance with the requirements of lowa Rule 16.412(2).
This requirement does not apply to any party who has been exempted from electronic filing.

2. To maintain fairness and equality between parties, if a party has been exempted from electronic
filing, that party must fax, email, or personally deliver copies of all exhibits that may be used at any
hearing or trial to the opposing parly or counsel for the opposing party no later than 4;00 p.m. the
second business day prior to the start of the hearing or trial at which the exhibits may be used. Any
party who is an electronic filer must also fax, email, or personally deliver copies of all electronically
submitted exhibits to each exempt filer no later than 4:00 p.m. the second business day prior to the
start of the hearing or trial at which the exhibits may be used.

    3, Prior to scanning and submission of proposed exhibits, each self-represented party and each
attorney submítting proposed exhibits must redact (i,e. black out or otherwise remove) all confidential
and protected information as required by lowa Rule I 6.412(1 )(c) and chapter Vl of chapter 16 of the
lowa Rules. For exhibits that cannot be redacted because of their nature, such as mental health
records, the party submitting the proposed exhibit must request an order sealing said exhibit before
it is offered and admitted. When required by statute, a party submitting a proposed exhibitm.ust

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obtain an order providing that the exhibit will be sealed after admiss¡on before the proposed exhibit
is submitted on EDMS. Any party submitting a proposed exhibit that may need to be assigned a
heightened security level when admitted must notify the coud with an appropriate filing before the
proposed exhibit is subm¡tted on EDMS. The party must also ask the court to seal the exhibit at
the time it is offered to ensure that all sealed exhibits are ident¡fied and sealed in the cou¡1's exhibit
management order. The provisions of this paragraph also apply to any paper exhibits submitted by
parties who have been exempted from electronic filing.

   4. Parties and attorneys who have not been exempted from electronic filing may only use a non-
electronic exhib¡t when it is not possible to maintain the exhibit electronically (e.9., videos, audio
recordings, firearms, and other physical evidence). When submitting video or audio recordings,
parties shall submit an original and one copy of each such exhibit so that the Clerk of Court may
retain custody of the original and allow the copy to be accessed by individuals wishing to review the
exhibit.

  5. Parties and attorneys must have accurate and complete paper copies of all electronic exhibits
available for use by wìtnesses and/or the jury at the time of any trial or hearing. Parties and attorneys
are urged to determine whether the judge who will preside over a hearing or trial will also want a
paper copy of exhibits. Paper exhibits wilì not be maintained by the Clerk of Court unless an original
paper exhibit has been admitted during the trial or hearing.

    6. Parties must have a complete exhibit list available for the court's use at any hearing or trial so
that the court can accurately record the exhibits offered and admitted. Parties must also accurately
and with detail reflect the information provided on the complete exhibit lists when inputting their
proposed exhibit submissions in EDMS, The exhibit number and descriptions fields shouìd, to the
extent possible, mirror what is reflected on the exhibit list. lf changes are made or required during the
fíling process, a complete amended exhibit list should be made available to ensure accuracy of the
record.

Clerk to notify




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                                               State of Iowa Courts
Case    Number                  CaseTitle
LACVO89137                      LISA E UPAH VS MERCY MEDICAL CENTER
Type:                           Othcr Order

                                                          So Ordered




                                                          Patrick R. Crady, Chief D¡stfict Cou¡t Jud0e,
                                                          Sixth Judicial Di5trict of lou'a


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                    IOWA DISTRICT COURT FOR LINN COUNTY

                                                               ORDER SETTING TRIAL
                                                              AND APPROVING PLAN

                                                                Case No : 06571 L4CV089137
LISA UPAH
      Plaintiff                                      Date Petition F¡led : 11122117

  VS.                                                 Case Type : Civil

IVERCY I\4EDICAL CENTER                              Trial Type : Non-Jury
        Defendant
                                                     Expected Length of Trial : 3 days

                                                     The amount in controversy exceeds $10,000




For the Plaintiff: LYNN M SMITH

For the Defendant: THOMAS D WOLLE




   Non Jury Trial is scheduled on 10/16/2018 at 09:00 AM at the Linn County Courthouse, 3rd
Avenue Bridge, Cedar Rapids, lA.



2.      PRE-TRIALCONFERENCE


3.   DISCOVERY PLAN
Trial Scheduling and Discovery Plan has been filed in this matter in compliance with lRCP1.507(2).
The Trial Scheduling and Discovery Plan has been completed. No additional hearings are required.
The Trial Scheduling and Discovery plan is incorporated into this order.



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Cf   erk to notify

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lf you need assistance to participate in court due to a disability, call the disability coordinator at (319)
398-3920. Persons who are hearing or speech impaired may call Relay lowa TfY ( -800-7 35-2942).
Disability coordinators cannot provide legal advice.




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                                                                         35 of 35
                                                                               66 of 66
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                                                  State of Iowa Courts
Case Number                       Case Title
LACVO89137                        LISA E UPAH VS MERCY MEDICAL CENTER
Type:                             Order Sctting Tr ial

                                                             So Ordered




                                                                 [10",* ßTlosLç
                                                             connie R. Trosky, court Adminìslratio(3is¡gnee,
                                                             Sixth ludiciål District of lowa


Èlectror)ically sj!¡Dcd o¡ 2018-01- 16 I0r54r58




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Ruf c       23.5-Form 2t Ttil Sclrcdulin!.! und Discovery Plan


Do not file this forrn in an Expedited Civil Action case, instead use Form 3
        .     This lorm is to be filed within 7 days after fhe pañies' discovery conference and before the trial-setting
              conference with the court
        .     Ihe parties should complete the entire form except as otherwise                         ind cated


                             ln the lowa District Cou rt fo r ,-,.,.,                               Li[                ,.---. County
                                                                                               -            -,-   ..



Lisa E, Upah                                                                          ¡6. 14CV089137
                                                                                       Trial Scheduling and Discovery Plan
Pla¡ntift(s) / Petitioner(s)                                                                          Use of th¡s form ß mãndatory
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I ulI
                                                                                    Date Petiiion ¡¡¿¿                 11-¡ 22 ¡!0.!-,,
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VS.
                                                                                    Cese type:  ELaw l-l EquÌty flOther
                            Center                                                              E PCR A Jud¡cial Revìew
                                                                                    Trial type: A Jury ß Nonjury
                                                                                    Expected tr¡al length: _
                                                                                                                - days
oefenilãñt(sl 7 Rèspondent(s).                                                      The amount in   centroversy
Irull   mnc frst, ntil,llt !'ttr                                                    exceeds $10,000. [l Yes            E No
          nces:
Plaintiff(s) / Petitioner(s)
Lynn M. Smith


Defendant(s) / Respondent(s)
Thomas D. Wolle

It is ordered:
1. Tf¡al            Notetoparties: Llnless you have obr.t¡ñed at¡ial dãtejoù¡ court .|dtúìn¡slralÌok, lea|e lh¡sd1le blank:
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                                                                              Day             l'riù           Tinrc       -.
            in the district court Ìn the courthouse of the county named above.-,20            -,
2. Pretrial conference Checkone. Note toperties. Ill¡ox Ãischecked, leave lhedale blank unles¡ you
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   date ik(l check box A, lhe cout t 1t)ill enler rhe dole, b), otdet, aflet lhe lûal-sellìt1g con[ercnce. fl a.m
            A. n     A pretrial conterence will be held on                    -,.--,--                                 2O-,      al                         pm
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                                              ,,,qJ   vv   ¡ v,   /
                                                                                                                                      -:-E
            B.   n   A pretrial conference wilÌ be held upon request.
3.          New part¡es 1,Àl llte lime ¡;erÌod or date when no ne\! pat'lies may be added
            NonewpertieSmaybeaddedlaterthan180daysbeforetrialorby-.-,
 f you n€ed assjslanc.€ lo ptsdicipôtB iô courl due io Â disabil ly, conl¿cl the disãbfìly coordrnÈlor ãl {              ) -.-.--...,--
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l{ulc 23.5-lìum 2: llìal Schedulin¡g and DirLrrr,¿/:y /'/.?r, corì(irrued



4.    Transcripts and records
      All required agency records or prior cr¡minal transcripts will be filed within 30 days of the date of
      this Plan or by      _
5.    Plead¡ngs ¿isl lhe lìne period or date pleadìngs will                    be closed.

      Pleadings will be closed 60 days before trial 0r by                 _.
6.    lnitial disclosures           Check all thar apply

      A. n       The part¡es have exchanged ¡nitial d¡sclosures.
      B. I       The partles will prov¡de initial disclosures no later than February 16, 2018
      C.   n     The parties have stipulated that the following will not be included in ìnitial disclosures:
                 Lír! itrt s uo! i clüded




      O. E       The padies have stipulated not to provide any initial disclosures.
      E. n       The follow¡ng party objects to p¡-oviding initìal disclosures on the following g¡ounds:
                 ldentily the paty and statc all applical:le grounds




7.    Discovery
      The paÍjes have held a dÌscovery conference as requiled by lowâ Rule of Civil Procedure 1,507
      All written discovery will be served no later than 90 days before trial. All deposÌtions will be
      completed no later than 60 days before trial. Or, all discovery will be completed by



      Check    all that apply
      A. E        No discovery of eleckonically stored informat¡on is expected in this cêse.
      B, !       The parties have conferred about discovery of electronically stored lnformat¡on and reached
                  âgreement as set out in Attachment
      C,   I     The part¡es have conferred âbout discovery of electronically stor€d ]nformation and have
                                                                   -.
                  been unable to reach an agreentenl. Nole to p.lrtìes ïboxC is checked, leaw thefollotuing
                  iùfotnat¡on blankunless the partics hate obtained o hedùng d(¿le, l¡ne, and localìonfio l cot 't
                 rdntùislraliott.                                                                        ü a.m.
                 A hearing is set for                  /                          at;   -..---:.-        Ü pm
                                          nrtt             dd           )yry            Iine

                fl      at the                                    County Courthouse, courtroorn      - .-.___,                  or
                                 County
                                          -                -/-,                                     Courtroon nø¡¡ber

                 l--l   at tne follo$,¡na location:
      D.n        The parties have agreed to a discovery plâ¡, ând their agreement is set forth in Attachment
      E !        The parties have agreed to deviate from the limits on discovery otherwise appl¡cable to this
                                                                                                                                 -.
                 âction, and their agreement is set forth in Attachment..
      F, I       The parties have agreed to conduct discovery in phases, and lheir agreement is set forth in
                Attachment ---.-.

October 2015                                                Rule 23.5-Form 2                                            Page 2 of 6




 Case Case
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           1:18-cv-00063 Document
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          c¡          The parties have reached an agreement únder lowa Rule of Evidence 5,502 as set forth in
                      Attachment        __,
          H.¡         The parties have reâched an agreement under lowâ Rule of Civll Procedure 1.504 ês set
                      forth ¡n Attachment        _,
          r!          The parties have conferred about a discovery plan and have been unable to reach
                      agreement on the jssues set forih in Attachment                 Notc ta parlles: lf box I is chcckcd, leave
                      thefollofling ¡nforntalian l¡lankunless the parlie,e ho\te oblained d hearìng dole, litnc, and locqtíon
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                      A hearing is set for                    /-             l-,         at:                    Ü p ff.
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                                                                                               ---_:--_
                    n        ât   ihe                                 County courthouse, courtroom                                    ot
                                    Coünty                                                                 Cou rooûi ñunlbet
                                                 -
                      ü      at the followìng location
L         Expert witnesses
          A.    A party who intends to call an expert witness, including rebuttal experi witnesses, shall ceriify to
                the court and all other parties the expert's narne, subject malter of expertise, and qualifications,
                w{thin the following time period, unless the lowa Code reqL,ires an earlier designation date (see,
                e.9., lowa Code section 668.1 1):
                (1)     Plaint¡ff: 210 days before trial or          by                                                                    .




                (2)     DefendanuThlrd Party Plaint¡ffi 150 days before trlal or by

                (3)     Third Party Defendanuothers/Rebuttal: 90 dâys before trial or by                   _
          B.    Any disclosures requ¡red by lowa Rule of Civil Procedure 1,500(2)(b) will be provided:
                Check each that opplies

                (1) !        At the same time the expert is cellfied.

                (2) n        According to lhe fo¡lowing schedule;
                        a     Pla¡ntiff:_       days before triaf or by        _-
                        b     DefendanuÏhird Party           Pla¡ntiff;-                              -.
                                                                                days before trìal or by

                        c,                                                         --.oI by
                              Third Party Dêfendanuothers/Rebuttal:- days before trial




          C     This section does not apply to court-appointed experts,
          The deadlincs listed in paragutphs 5,6,7, andS na1, be anetded, )l,¡lhout furllßr leare ofcotttt, byJìlìng a
          Stipulated lt etdìrc 1 to lhis Plan l¡sling lhe date6 agreed upon and signed by all attorneys and selÍ-
          rcprese kd l¡t¡gantli. Such Stìpulated Anendnent ntqy n(,t o1)err¡de enÌ requìretùent af the lowa Court Rules
          a ¿l c.innol ser¿e as a l)cslslc, c canlitilance cflhe lr¡el d1le or ûJTecl lhe dale far pre!! ial ,llt'niîsions
9.        Pretrial submlssions
          At east 14 or   (the paÍies may enter ênother number but not less lhan 7) days before trial,
          counsel for the--_
                          parties and self-represented litigants r¡ust:
          A.    File a wltness and exh¡b¡t list with the clerk of court, serve a copy on opposing counsel and
                self-reÞresented lit¡gants, and exchange exh blts. ln electronic cases, witness and exhibit l¡sts
                must be electronically fìled, and the EDIVIS system will serve copies on all registered pariies
Ociober 2015                                                     Rule 23.s-Form 2                                              Page 3 ofo




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              Exh bits rnust be electronically submitted in leu of exchanging them. These dÌscfosurês must
              include the following lnformâtion about the evidence that the disclosing party may present at trial
              other than solely for impeachment:
              (1)     The nan¡e and, if not previously provided, the address, telephone numbers, and electronic
                      mail address of each witness, separately identifylng those the party expects to present and
                      those the party may call if the need arises.

              (2)     The page and line deslgnation of those witnesses whose testirnony the party expects to
                      present by deposition and, ¡f not taken stenographically, a transcript of the pertinent Þarts of
                      the deposition.

              (3)     An identification of each document or other exhibit, ¡ncluding summar¡es of other evidence,
                      separately identífy¡ng those items the party expects to offer end those it rnay offer if the
                      need ar¡ses. The following rules govern exhrbits and exhibit lists:
                      a,   Plaintiff will use numbers and Defendant will use letters. Pretrial exh¡bÍt lists will identify
                           each exhibit by letter or number and descr¡ption. ExhÌbits must be marked before tria                          .



                      b.   immediately before commencement of trial, the court must be provided with â bench
                           copy, ênd the court reporter with a second copy, of the final êxhibit list for use ìn
                           recording the admission of evidence.
                      c    ln nonjury cases, immediately before commencement of trial, parties must provide the
                           court with a bench copy of all exhibits identified on the exhibit lists.
                      d.   Within 7 days afler the filing of an exhibit ¡ist, or w¡thin 4 days if the dead ine for filing of
                           the list is less than 10 days before tr¡al, counsel and self-represented l¡tigants must file
                           wiih the clerk of court, and serue on each party, any identificatìon, authenticatlon, and
                           foundation objections to the exhib¡ts listedì otherwise such objections are deemed
                           waived for tr¡âl purposes, ln elecironic cases, any identification, authent¡cation, and
                           foundatÌon objections will be electronicelly filed, and the EDI\4S system will serve
                           copiesonall regislered parties. Electronic f¡ling ofthese objections mustbedone
                           withrn 7 days of the filing of an exhibit list, or within 4 days if the deadline for fil¡ng of the
                           list is less thân 10 days bèfore tr¡ali otherwise, such objections âre deemed waived for
                           trial purposes,
         B,   File and serve motlons ln llmlne, w¡th supporting legal authority.
         C.   File and serve all proposed jury instructlons in a form to be presented to the jury, including a
              statement of the case, the stock jury instruction numbers, and verdict forms. The court must be
              provided the ¡nstructions ¡n written form and eÌectronically,
         D,   Deliver to the judge and serve a concise tríal brief addressing factual, legal, and evidentiary
              lssues, with cltâtion to lega âuthoritìes.
10. Motions
         All motions including motions for summary judgmenl and except motìons in limine, must be filed with
         the clerk of court's offrce or electronically filed al h!t¿_sj/.¿Wy{v(Lo_\d¿ìcsrrrts.stateja_,,rislqEile/ at least 60
         days before trial, wìth copies to the assigned judge.
'11. Settlement conference Nok                    tcì   partres lfAorB is checked, leate any date blank; the       coutttill   enter
         the seltlenekl cotlference ddle, by ordet ,       alier lhe h ¡al-.tetl¡ng conlÞrence.
                                                                                                                               E    a.   m.
         A. E       A settlemenl conference will be held              on,              ,         zalu*,al    ---*-:-.-         fl   p.m.
                                                                                           uãl
                    at the                                          County Courthouse,
                    All parties with authority to settle rnust be            present.                                     ü a,m,
         B.   li:   A settlement conference w¡ll be n"t1on                                                   al];r.¿..-r- Ü f .m.
                                                                          r.,Or,,, -- - - -t),|r,20.- -.-,
                    at the following location     __
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                 All padies with authority to settle must be present.
        C.   E   A settlemenl conference will occur at a date, tim€, and:ocêt¡on ârrânged by the part¡es.
                 All parties with authority to settle must be present.
        D.   Ð   A settiement conference will be held upon request.
        The parties are encouraged to consider alternative dispute resolution including private mediatlon or
        arbltration.
12. Settlements
        The part¡eÉ are responsible for immediately notifying the coud adm¡nistralor of settlement,
13, Late settlement fees
        Lête settlement fees under lowa Rule of C¡vil Procedure               1   .909 are appl cable,
14. Continuances
        Continuances are d¡scouraged and will only be granted for good cause. l\¡otions to continue are
        governed by lowa Rule of Civil Procedure 1 .91 0. ln the event the trial date is continued, all t¡me
        deadlines in this Plan and âny Stipulated Amendments remain in etfect relative to the new tr¡al date
        unless the court approves new deadllnes.
15. Notice
      Failure to comply with any of the provisions of th¡s Plan or St¡pulated Amendments to this Plan may
      result in the court ìmposing sanctions pursuânt to lowa Rule of Civil Procedure 1.602(5), including
      limitation and exclusion of evidence and witnesses and payment of costs or attorney fees. The court
      will resolve disputes regarding oral agreements on scheduling by reference to ihis Plan or any
      Slipulated Amendments to this Plan.
 16. Other Lìst addirional




 At lcûst one s¡gnatLtre tô lhe Tûql Schedltling and D¡,tca|ery Plan ¡s rcq1¡ircd. The signet ceúiJles lhdl all lisled
larl¡es haw.iôined ik this Trial SÇheduling and Ditcowry Plan, subjecl lo any objcctions noted.

I certify that all parties and attorneys to th¡s action have agreed to this Trial Scheduìing and
D¡scovery Pìan and have been served with a copy.

January                           5            rn   18
Sígned:             L,lonth      l)ay               Yeor          Parly's or altornqt't signahtre

Lynn M. Smith                                                     Swisher & Cohrt, P.L.C.
                                                               A I torhey's       larl'.îr t kl, iJ app   I ic   ablc

P O Box '1200                                                     Waterloo                                       lA               50704-1200
Maili   g addrcss                                                 Ciry

(31I-_)          232-6555                           LSmith@s-c-law,com
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Copies tor counsel of record, self-represented Iitigants, and court administration.
For quest¡ons regarding docur¡ents filed with the court in this case please see
!ì!!ps.l1wwlC¡_o.lryaSo-!ÉS.$ale jtulNlEEAyúCbApBli_':CleqlEIern_e or caf I the clerk of court.




October 20l5                                                                  Rule 23.s-Form 2         Page 6 of6




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                                                      Page Page
                                                           42 of 42
                                                                 66 of 66
                        E-FILED 20'17 DEC 15 1l:34 Al\¡ LINN - CLERK OF DISTRICT COURT




                             IOWA DISTRICT COURT IN AND FOR LINN COUNTY

LISA UPAH
              Plaintiff(s)                                     E NO: 06571 LACVOB9137

VS.                                                                   NOTICE OF CIVIL TRIAL-
                                                                      SETTING GONFERENCE
MERCY MEDICAL CENTER
        Defendant(s)




To the parties or their attorneys of record:

ln accordance with lowa Rule of Civil Procedure 1.906, notice is hereby given that a Trial
Scheduling Conference is scheduled on 0111612018 at l0:45 AM at the initiation of a
conference call.
This date shall be no earlier than 35 days after and not later than 50 days after any Defendant/
Respondent has answered or appeared unless set sooner by special order on application of one or
more parties.

This conference shall be held:
By TELEPHQNE with the conference call to be initiated by court administration.

Attorneys for all parties appearing in the case shall participate at this conference. A party will
participate in person if the party does not have an attorney.

At this trial-setting conference, every case will be set for trial within the time periods provided by lowa
Court Rules Chapter 23, Time Standards for Case Processing.

Prior to the trial-setting conference, the parties must file a Trial Scheduling and Discovery PIan, lowa
Court Rule 23.S-Form 2 (Form 3 for Expedited Civil Actions).

ln judicial districts that allow it, the parties may, in lieu of holding a trial-setting conference, first file
their Trial Scheduling and Discovery Plan and then, prior to the date scheduled for the trial-setting
conference, obtain a trial date from couft administration that compl¡es with the provisions of Chapter
23, The date will be entered by the Court on the Trial Scheduling and Discovery Plan.

The trial date that is agreed upon at this conference shall be a firm date. Continuances will not be
granted, even if all parties agree, unless for a crucial cause that could not have been foreseen.

The Clerk of Court shall notify all counsel of record and parties not represented bv counsel.
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                                                               Page Page
                                                                    43 of 43
                                                                          66 of 66
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Dated 12115117




lf you need assistance to part¡cipate in court due to a disability, call the disability coordinator at (319)
398-3920. Persons who are hearing or speech impaired may call Relay lowa TTY (l -800-735-2942).
Disabilíty coordinators cannot provide legal advice.




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                                                              Page Page
                                                                   44 of 44
                                                                         66 of 66
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                                                                State of Iowa Courts
Case Number                           Case      Title
LACVO89I37                            LISA E UPAH VS MERCY MEDICAL CENTER
Type:                                 ORDER FOR TRIAL SCHEDULING CONFERENCE

                                                                           So Ordered




                                                                              Q,"rt ,Yrk-*^>
                                                                            Julie L. Cree¡, Cour-t Adm¡nist¡at¡on Designee,
                                                                            Sixth Judicial D¡itrict of lowa


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                                           Filed 06/20/18
                                                     Page Page
                                                          45 of 45
                                                                66 of 66
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                                                                    RETURN OF SERVICE
Case Name Lisa Upah vs       Mercy Medical   Center                 Service Type: Corporation/.Association

Case   No.   L4CV089137

l)ate Rcvd: November 30,2017



STA'fE OIì IOWA
                       ss.
LINN COLINTY




I certify that I served a copy of the Original Noticc, Petition, and Exhibits to Mercy Medical Center by serving
Caroline D. Giddings Registered Agent at 701 1Oth St. SE, Cedar Rapids, I.A 52403 on l2lll2017 @9:31 AM




NOTES




 Fees:                                                      Brian D. Gardner, Sheliff, Linn County, Iowa
 lMileage ($1.62) Service Fee (930.00) Copy Fee ($0.50)
 Total: $32.12

                                                                   ù-Èt //u-Ltt).",**tts
                                                            By

                                                            Deputy Sheriff


                                                            Fees have been paid by the attorney:
                                                            Lynn M. Smith
                                                            P. O. Box 1200
                                                            Waterloo, IA 50704




          Case Case
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                                                               Page Page
                                                                    46 of 46
                                                                          66 of 66
                  É-FILED 2017 DEC 12 3:31   Pl\,4   LINN - CLERK OF DISïRICT COURT




              IN TI"IE IOWA DISTRICT COURT IN AND F'OR LINN COUNTY


LISA E. UPAH,

         Plaintiff,                                          Case   No. L4CV089137

vs,
                                                                     ANS\MER
MERCY MEDICAI, CENTBR,

         Defendant.


          For its Answer to Plaintiffls Petition, Defbndant Mercy Medical Center states:

                                          INTRODUCTION

         i.      With rcgard fo pangtaph 1, Defendanl admits the action is             based on

drsability discrimination and wrongflrl discharge, but dcnies any and all liabiliq'.

                                   JURISDICTION AND VENUE

         2.      Admitted.

         3.      Admitted.

                                  PARTIES AND BACKGROUND

         4.      Acimitted.

         5.      Aclmitted.

         6,      Admitted.

         7.      Admítted.

         8.      Denied,

         9,      Denied,

         10.     Denied.

         11.     Denicd.




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                                                           Page Page
                                                                47 of 47
                                                                      66 of 66
              E-FILED 2017 DEC 12 3:31 PIV LINN - CLERK OF DISTRICT COURT




   1,2.      Denied.

   13.  Plaintiff admils it has a poiicy ofreporting unprofessional conduct and
   HIPPA violations, but denies Plaintiff made any such report,

   14.      Denicd.

   i5,      Dcnied.

   16,      Denied.

   17.      Defendant adr¡its Plaintiffwas terminated on January 17,2017.

   18.      Denied.

   19.      Denied,

   20.      Denied.

   21.      Denied.

   22.      Denie d.

   23.      Denied,

                             PRO CEDURT\L PREREOUISITÐS

   24.      Admitted.

   25.      Admitted.                                                                          I

   26.      Admitted.

   27.      Admitted.

   19       Admitred.

   ,O       Admitted.

         \,rJUl\ I r: vI\JLArlrjl\   LJ¡ I(Jw¿ì \-l   vlL r(r.\rnrù,{\-l   r\J Ì^vA L-\Jrrrl

                        A.CCOMMOpATE, AND RETALIATION

   30       No responsc is lequi-red for paragraph No. 30.

   31       Defendant incorporates its responses to para,graphs I-29.

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Case Case
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          1:18-cv-00063 Document
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                                           Filed 06/20/18
                                                     Page Page
                                                          48 of 48
                                                                66 of 66
           E-FILED 2017 DEC   '12   3:31   Pl\,4   LINN - CLERK OF DISTRICT COURT




   32.    Admitted.

   33.    Admittecl.

   34.    Deuied,

   35,    Denied.

   36.    Denied.

   37.    Denied,

   38,    Denied,

   39 .   Denied.

   40.    Denied,

   4l.    Denied.

   42.    Denicd.

   43.    Denierf   .




     Ç-O-U- NT   u:     WnONGFUL TERMINATIONÀGAINSTPUBLICPO

   44.    Aclmitted.

   45.    Denied.

   46.    Denied.

   47 .   Dcnie d,

   48.    Denied.


   WIIEREFORE, Defendants lequest the court dismiss Plaintiff s petition.




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                                                          49 of 49
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                                             SlMMoNs PERRTNE MoYER BERGMAN PLc




                                                      D. Wolle 4T0008564
                                             115 3rd St. SE, Suite 1200
                                             Cedar Rapids IA 52401
                                             T'elephone: 319-366"7 641
                                             Facsimile: 3I9 -366-191,7
                                             EmaiI: rwo1le@simmonsper¡ine.com
                                             ATTORNEY FOR DEFENDAN'I



                                CERTIFICATE OF SERVICE

       I hereby certiô/ that on December    12, 2017, I filed the foregoìng ANSWER with the
Clerk of Court using the electronic liling system which wi-11 send notification of such fi1ing to
the following:

Lynn M. Smith
SWISHER & COFIRT, PLC
528 West 4'r' Street
PO Box 1200
Waterloo, IA, 50704-L200

ATTORNEYS FOR PLAINTIFF

                                                    ./s./ Thomas   D. Wolle




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  Case Case
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                                                       Page Page
                                                            50 of 50
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                             IN 1-I{]] IO\Ä/A DISTIìIC]'COIJRT FOR I,]NN COTJNTY

I,IS^        ]J. UPA,II,


              Plaìntiff,                                                case   No. L n 9_)/^g ! 1J_31

vs


lvlljlìCY MEIIICAL CENl'ER,                                             PETTT'IOI\

              l)elèndant,




              ClON,lItS    NOW Lisa Ë. Upah, Plaintill'in the abovc-captioned mattor, by and             tl.rror.rgh hcr


Ðttorìeys ancì ìn supporl of this Petitioll states as follows:


                                                    .INTIìODUCl'ION

              I.       This js an âction against Mcrcy Medical Centcr fbr disabilìty based discrinination

a¡d tcrrrìnation in vioÌation of the Plaintif?s rights pursuant to the Iowa Civil Rìghts Act, lowa

Code Chaptcr' 2I 6 and all such acts which constitute unfair employment practiccs pursuânl to thc

Iowa        (livjl Iìights Act.    F'urther, this is an action for wrongfuJ dischargc as    Plai¡tills   terminâtiôn

of errrploylncnt cons(itutes a discharge against public poJicy.


                                             .IURISDICTION ¡.ND VI'NUE

              2.       'l'his Court   has   julisdìction over this n¿ìtter rìs the vâ]ue cxcccrJs thc srnall clâin]s

jr.rrì sd   icl ic.rnal nrrount-


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                                            Filed 06/20/18
                                                      Page Page
                                                           51 of 51
                                                                 66 of 66
                    E-FILED 2017 NOV 22 10:28 AM LINN .. CLERK OF DISTRICl-COURT




          3.       Venue is appropriate in l-,inn County, Iowâ pùrsuant to lowa Code $216.16(5) as

 the aliegcd unlair practiccs occu:r'ccl in Linn County, lorva and thc Plair.rliff rcsidcs in Linn

 CouÌity, Iôwâ.


                                       PAIìTITS A.NI) BACKG       Iì.OI.]   NI)

          4.       Lisa Upah, thc Plaiutilf hcrein was at all timcs matelial helcin a rcsident of Ccdar

l{apids, Limr County, Iowa.

          5.       Dcfcndant Melcy MedicaÌ Clenlel is localcd in Ccdar llapids, lowa ancl at all

limes nralcriat herein was doing trusincss in Linn Counry, Iowa.

          6.       Plaintiff Lisa lJpah began enrploymcnt with Melcy Medical Center on or about

July 5,   201 6.


          7.       I)laintiff was emp.loyed ¿nd workcd ât â fâcility in Cedar lìapids, Linn County,

Iowa.

          L        During her em¡rk:yment, thc PluintilT was subjcotcd to llarassment that resultcd irì

Plaintifls anxiety aud her protcctcd disability.

          9.       Plaintiff, on a varicty of'occasions during hcl em¡rìoynrcnl, requesled reasonablc

âccor¡modations due to her anxicly arrd dìsabiìity.

          I0.      'lhe   requestcd accomlnodations included trainirrg and aclditional hclp with

workload, among othrrs.

          II   -   I'ho.se   acconmodations wclc dcnicd ¿ntl PlaintilÏ was sinrpìy told to do hcr.iob on

a nrnrbcr 0f occ¿tsio¡rs.

          11.      ltlaintiff a{so rcportcd a valicly ol   Lrnctlríc¿l bcl¡aviol   lo I'lrrnan Rcsoulccs   and
           L




otlrcr ¡ssues iuclr"rdrng    Hll'AA   violations.




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                                            Filed 06/20/18
                                                      Page Page
                                                           52 of 52
                                                                 66 of 66
                          E-FILÈD 2017 NOV 22'10:28 ArV LINN - CLERK OF DISTRICT COURT




            ll.           Plaintil1s rcl)orts to Hu¡rran l{esources were coûsisterrt wilh oolnpatìy poÌicv

 thrÒugh         thc Corporale Conrl:liance Program which spccifically lcquires reportin¡¡                           of'

 rìnprolbssionâl concluct ancì HLPA^ violâtions, alnong o{.h€r itcms.

            14, Plaìltilf experienccd                 stcadily rno¡e hostì[c behavior in the rvorkplacc affel she

 reguested reasonírble accommodations and lc¡rorled varìous behaviors to Human Resources-

            15,           'Ihe combinalion of tlrc leports to FIR and Plaintiff's rcquests for              reasonable

 accorììÍnodations cvcntually lcd to the ternlinâLion of                Plaintilfs employmctt.

            ló.       l'laíntiffs    rcpoì'ts   lo   l'l   Iì conccrning unethicaì and inappropriatc behavior     werc

¡uacle   in Novernt'¡cr and Deccrr¡bcr of 201ó,

            11.       Shofly tbereaficr', Plaintifl-s cuìployment was tenuinated ou January 11,2017.

           18.        Plaiutilf was uot givcn a rcasoll for lemination othe¡ than tàat "she was not                  a


Eood     fit."

           19.        Plaintiff suflel'ed with ¡,reater harassmcnt, buìlying, arrd retaliation aftor               shc

requested ¡cason¿ble accomnrodaf io¡r 1br her anxiely and afler shc lcportcd unclhical bchavio¡                     tcr


III{   pursuanl to t}re Company policies Òn Cor¡lorate Contpliance.

           2.0.      Plaintiff was discriminatecl against and rctaliatcd against by Mercy Mcdical

Ccnlcr bccau.sc olhcr disabi)ìty as dcscribed above.

           2l    .   Thc I>laintili's lcrmin¿tlion based on her disability is a violatìon oI the lowa Civil

Rights Act as t¡ullincd bclow.

          ?,2.       TIlc Dcfcndnnt's dc¡ial of lrlairtjff-s requests lr:r r.eason¡ble accotrmodation is             a


vioìation oJ the Iowa Civjl Righls,Acl.

          21.        'l   lic l'laintifl-s trnrijrì¿rljor irl     rcs¡ronsc   to her prolcctcd activity by tcll()trilB
(ìolpLrralc ('orrpliancc issues corlstilutcs tr r.vlonglìrì rìisclrar-gc aLr:rìtrsl pLrblic policy.


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                                                     Page Page
                                                          53 of 53
                                                                66 of 66
                        E-FILÊD 2017 NOV 22 10128 ANil LINN - CLERK OF DISTRICT COURT




                                      llìocEpuRn L Pn[rì!]QuISrrES
           24.      Pl¿intiff Lisa Upah initiated this employmcnt discrirnination âclion by limcly

filing a coni¡rlai:ìt with the lowa Civil Rigbls Conrrnission on or                 abor.rt .lanuary 19,2.017,

pursú¿ìot to Iowa Codc Clhapter         216. A copy of said cornplailt is   att¿rolìcd hc¡eto as   }ìxlribit A,

           25.      Pl¿infifls complaint before the Iowa Civil lliglrts Conrnrissiorr rvas lìlcd within

300 days        of thc     cliscriminatory acts con.rplaincd   of and the   act.s corrplainecì     ol   continucd

tllÌoughorìt the tcrm of       Plaintifls crnploymcnt.

           26.     Pursuânt to lowa Code Seotion 216.16 and         l(rl Iowa Adminislra{ivc       Code Secliorr

3.10 thc l)laintilf recluûsted an Adnlinistmtive Release, granting lier thc rrght to ñlc this action in

dìstrict corÌI1.

           27.     'fhc lowa Civìl Rights Commíssion issued thc Administrative Iìeiease (Iìight                   to

,SLre   Letter') to Plainlifl' on August 24, 201'/   . L copy of sâìd Adnlinistrativc l{elcase is attached
hcrc(o as l.ixìribit     ll.

           28.      l   lris action i.s timely fì led wilhin 90 days of the issuance oJ the Administrative

lìelease.

           29.     'llrcre are no arlnrinistrativc liling requirements or prerequisìles fbr fìÌing a claim

ì:asctJ on wlolr¡11ìrl dìscharge against public      policy.


                 COUI\T I: vIOl,¡\]'lON OI IOWA ÇlVll, RIG-i_U'. ,4Ç l'
        IOIVA CODIi CIIAPI'DXì 216 .-- I)lSÂBlt,l'l-Y DISCRIMìNA'I'I()N. ìr¡\II-tiltE TO
                        ,4CCOMMODi\TE, AND RETAI-IATiON

          i0.      '1
                        hc l)ìaintifJ'Jrereby incolporates by rc.lercncc ljxhibit A. hel corì11)laiDt lo thc

lou,a C'ivil lìiglrts Ccrnrnrission thaì was lilecl as rel'erenccd abovc, as   if   fìrìlv allcged helern.

          3ì.      l)laintifl lir¡thcr;llcorpolates patRgraphs I tlìrough ?9   as jJ.fLrlly allc¡rccl hc|cin


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                                            Filed 06/20/18
                                                      Page Page
                                                           54 of 54
                                                                 66 of 66
                    E-FILED 2017 NOV 22 10:28 A¡/ LINN - CLERK OF DTSTRICT COURT




          32..     At ali timcs rnâlcriâl hercirr, I)laintillwas   arr errployce   olthc Delendant, workirrg

 at 701 l0'r' Street SE, Ccclal lìapirls, I.,inn Oounty, Iowa, wirllin tìre mcaning of the lowa Civil

 lìiglrts Act, lowa Code Chaptcr 2l 6.

         33,            all timts nratcrìal lìercin, l)cI'cndant was the Plaintiff's cnrploycr within       thc
                   ^t
 nreaning   oflowa Cotle Chal:ter 216.

         34.      Pl¿intiffs anxiely constitutes a protecled disâbility         uÙder the lowa   Civil Iìights

       thercforc, Plaintilîwas dìsablecj within tìrc nrca:ring ùf lhe lowa Civil ÌUghts Act.
^ct;
         35.      Plajntiff was ablo to perfblln thc csscntjâl firnctions ol'her.job with or without

¡easonal¡le accomnroclations at all tirlrcs mate¡ial he|eìn

         36.      Plaintiffwas a qualilìed indjviriual with â dìsâbiliry.

         3'7.     Plaintiff requested tcasortable acco¡rrnodations and Def'endant fhiled to provide

the ncccssary acco¡¡rmodal ions.

         38. Plaintifls        disabilíty was a nrotivatiÌrg lìrctor in the dcci.sion to terminate her

enrployment.

         39.      The Dcfendant failed to acco¡nnrodate       l)laintills disability by providing     adequate

time off ancl oÌher ¡easonable accol¡ rnt¡clatìons includrng training anrl assjstal)ce wjth workloacl

as rcquired    by lhc Iowa Cìvil lì.ights Acl, inch.rrlrng leducing I'laintifls workload ancl/or plocing

Plaintifl'in a diflc¡clrt role.

        40.       Dclènclanl's i.-ailulc to providc lcasonaì:le acconlmodatìolls is a vioìatjon of thc

lowa Civil Rights Act.

         4l.     'f'he actions of'thc Defcndant in tcrnrirrating the Plaintiff bascd
                                                                                     on hcr disability
                                                                                                  I

cônslitule unlalvlìrl tiiscriminalion l)Lltsuân( to (hc ìo\va L'ivtl lìiglrts   Acts              l




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                                             Filed 06/20/18
                                                       Page Page
                                                            55 of 55
                                                                  66 of 66
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            42.        Delèndant's acljolrs      in   tcrrtrinating Plajnliff irr rctaliatiorr    fol hcr rcqucst      l'or.


    rc¿rsonablc accomnodations constitÌìtc a violatioB              of the Iorva Civìl Rights Act.

            43.        As a lesult of thc un.lawiïl actions of'the Defenda¡rt as dcsc¡ibecl                   ¿ìbove, thc

    I'laintilf has suffered lost wages and bcnefrts, retircrncnt bcncfits. crtrotional                           distrcss,

    hunriliation, and Ìoss ol'enjoyment of life.


             ÇOI]]YT         II:   WIì,ONGFUL TIIIìMXNATION AGATNST PUBI,IC POLICY

            44,       On or about January 17, 2017, Lisa Upah's enrploynlent wjth Mcrcy Mcdical

 Centc¡ was lerrninâted.

           4,5.       lrì thc n.ìonths ol Novcmbcr a¡rd l)ecembel of 2016, Ms. [lpah engaged in legally

 l)rotcctcd activity by rcpolting inapp:opliate bchavior and violations ofcontpany policy to HR,

 rncluding vioiations oflaw such as flIPAA.

           46.       J'l'ìe treatmcnt expericnccd by Ms. Upah in the work¡:lÌac:e after shc co:nplainccl to

HII bccame progrcssivcJy wo¡se and evenlually culrlinaled in her lel.nrinai io¡r.

           47.       Mr-. llpah was ternrinatetl because shc engaged in â protccted              activity by reportjng

inapproplia{e beìlav ior to LIR.

           48.       As â rcsult of the termination of plaintifls enìployment, she sustirillcci danrages

including iost wages and bcne[its, rctirc]ììcnt benefits, e¡notioral cjistrcs:ì. ìlu¡niliarion, and                 io.ss

o   I'cnjoynrcnt of Iil'c.


                                                          RËI,IF]F

           Wl-II"R EITORI'ì, I)ìaintiff'respcctlìtlly request:,^ llìat she bc rtradc' rvlrolc ìnclr.rtlirrg bu( not

lirnítccl to an atìiLrdication that lhc corduct o1'Mcrcy ì\4edical (-'cntcr i;t tclnrirratírrg Ms. t-ilÍh's

ctrr¡rlovtttcrl   '"r'¿ts   unlarvlìrl as a cìischaIg.c   ir   vioìation of lorva (.'odc [.']trplcr   2ló a¡tl that titc

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    Case Case
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                                                         Page Page
                                                              56 of 56
                                                                    66 of 66
                   E-FILÈD 2017 NOV 22 10:28       AN,4   LINN - CLERK OF DISTRICT COURT




l)eî:ndnnt's actions in fiìiling lo acconlmoclate Ms. Upah's disabiÌily constitutcs a violation of

lhe   lor,va   Civil   Right.s   Act.   Ms. Upah lurlhc¡ sccks an adjudicalion that hcr ternination

constilutes a wrortgful discharge against pubìic          policy. Ms. l.jpah further seeks an awarci of lost.

wages and income incJuding benelits, clef'cncd conrpcnsation, bonuses and retiremcnt account

matching contributions, an arvard           of   courpcnsatoly damagcs including bt'ìt not linited t0

emotir¡nal distress, pain ancl suffering, arcl mental anguish, along with an awarcl                        of attorneys'

fees, interest, court costs and any and all other relief'as thc couÉ may dcern just and reasonable

under the ci¡cumstances and cons.istent with applicablc ìaw.


                                                     Iìespectful ly submitf ed,


                                                    By
                                                          J,:l¡ii H¿. srnirn - tlÖ'riblsssz
                                                    SWISI{ËR & COI.IRT, P.L,C.
                                                    528 West 4'l' S{¡eet
                                                    P.O. Box 1200
                                                    Vy'atelloo, I A 50704-1200
                                                    'l'clc¡rhone: (319)232-6555
                                                    Iìacsinrile: (319)232-4835
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                                                     Page Page
                                                          57 of 57
                                                                66 of 66
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L   Plcacc indic:rr: tbe .A-R-EA(9) in uzhich thc di¡c¡imioatios ocq¡r¡ed.
     Tirnploy'nrcrrt                          l\¡blic,{ccoo¡ood¡tlôo                    .FIouafng
     Bduc¡ tior¡                              Credit                                    llÀtilindon
2. Plc¡sc.in<tic¡rc thc      ,a'CMN(S)         rhnt t}te orgu¡ìzarioo rook ag+iost yolt-

     Dc¡¡odon                                                          F*ilu¡c to T¡ain
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 3. Plcr¡c indic¡¡r- ûrc B,ASIS(ES) o¡ reÂsom¡ fo¡ È¡e dìgc¡i¡¡io¡tìoo.                      í


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     Case Case 1:18-cv-00063 Document
          1:18-cv-00063-CJW-KEM       1-1 Filed
                                 Document 1-1 06/20/18    Page Page
                                                Filed 06/20/18 58 of 58
                                                                     66 of 66
                          E-Fll.FD 2017 NOV 22 10:28                 LINN - CLERK OF DTSTRICT COURT
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Case Case
     1:18-cv-00063-CJW-KEM
          1:18-cv-00063 Document
                            Document
                                 1-1 Filed
                                     1-1 06/20/18
                                           Filed 06/20/18
                                                     Page Page
                                                          59 of 59
                                                                66 of 66
                               E-FILED 2017 NOV 22 10:28 AM LINN - CLERK OF DISIR|CT COURT




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     Case Case
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               1:18-cv-00063 Document
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                                          1-1 06/20/18
                                                Filed 06/20/18
                                                          Page Page
                                                               60 of 60
                                                                     66 of 66
                            E-FlLÉD 2017 NOV 22 10:28                AN4   LINN - CLERK OF DISTRICT COURT




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  Case Case
       1:18-cv-00063-CJW-KEM
            1:18-cv-00063 Document
                              Document
                                   1-1 Filed
                                       1-1 06/20/18
                                             Filed 06/20/18
                                                       Page Page
                                                            61 of 61
                                                                  66 of 66
                           É-FILÉD 2017 NOV 22 10:28              At\,4   LINN - CLERK OF DISTR¡CT COURT




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   Case Case
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             1:18-cv-00063 Document
                               Document
                                    1-1 Filed
                                        1-1 06/20/18
                                              Filed 06/20/18
                                                        Page Page
                                                             62 of 62
                                                                   66 of 66
                         E.FILED 2017 NOV 22 ,10:28 AN4 LINN - CLERK oF DISTRIoT coURT




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      Case Case
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                                           1-1 06/20/18
                                                 Filed 06/20/18
                                                           Page Page
                                                                63 of 63
                                                                      66 of 66
                             E-FILED 2017 NoV 22 10ì28 AM LINN - CLËRK OF DÍSTRTCT COURT




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     Case Case
          1:18-cv-00063-CJW-KEM
               1:18-cv-00063 Document
                                 Document
                                      1-1 Filed
                                          1-1 06/20/18
                                                Filed 06/20/18
                                                          Page Page
                                                               64 of 64
                                                                     66 of 66
                         E-FILED 2017 NOV 22         1O:28 AN4 LINN - CLERK OF DISTRICT COURT




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-t\ copy of rhe ll1¡ht-'l'o-Suc l-(ittcl hâs bcen sent tcl thc Responrìerlt(s) âs shown belorv. Thc
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cc:   lir.ìc
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                                                                  Page Page
                                                                       66 of 66 of 66
